     Case 3:00-cr-00058-HDM-RAM   Document 266   Filed 09/15/14   Page 1 of 4



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 3
 4                          UNITED STATES DISTRICT COURT
 5                                DISTRICT OF NEVADA
 6
 7    UNITED STATES OF AMERICA,         )          3:00-cr-00058-HDM-RAM
                                        )
 8                   Plaintiff,         )
                                        )          ORDER
 9    vs.                               )
                                        )
10    ROBERTO CARLOS RANGEL,            )
                                        )
11                   Defendant.         )
      _________________________________ )
12
13          On March 6, 2014, the defendant filed a motion to vacate, set
14    aside, or correct sentence pursuant to 28 U.S.C. § 2255 (#258).
15    The government responded (#264) and defendant replied (#265).
16          Defendant asserts the 147 month sentence imposed on him July
17    22, 2008, was based in part on a judicial fact-finding process held
18    unconstitutional by the Supreme Court in Alleyne v. United States,
19    133 S.Ct. 2151, 186 L.Ed 2d 314 (2013).        The government contends
20    Alleyne is inapplicable to defendant’s case.
21          The court finds defendant’s sentence is not affected by the
22    Supreme Court’s finding in Alleyne.        The length of the defendant’s
23    sentence was calculated based upon an agreement of the parties and
24    not by the same sort of judicial fact-finding that was implicated
25    in Alleyne and its progenitors.      Accordingly, the motion is denied.
26    Procedural History
27          On April 12, 2000, the grand jury for the District of Nevada
28    returned a multi-count indictment charging the defendant and

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     Case 3:00-cr-00058-HDM-RAM   Document 266   Filed 09/15/14    Page 2 of 4



 1    Humberto Magana Arias with violations of the Controlled Substances
 2    Act.   Presentence Investigation Report at 3.         On April 23, 2001,
 3    the defendant pleaded guilty to conspiracy to possess with intent
 4    to distribute methamphetamine, in violation of 21 U.S.C. §§ 846,
 5    841(a)(1), 841(b)(1)(A)(VIII) as charged in a second superseding
 6    indictment.    Id.
 7           On June 17, 2001, while on pretrial release, the defendant
 8    removed his transmitter and left his residence.             (#69).   He was
 9    found in violation of his pretrial release conditions and a warrant
10    was issued for his arrest on June 19, 2001.          Id.     He subsequently
11    failed to appear for sentencing on July 30, 2001.             (#76).       At that
12    time, the court confirmed a no-bail warrant for the arrest of
13    defendant had been issued and remained in effect.             Id.    Law
14    enforcement officials arrested the defendant on his pretrial
15    release indictment on January 11, 2008, approximately six and a
16    half years after he absconded.      Presentence Investigation Report at
17    3-4.
18           At a June 17, 2008, status conference, the government and the
19    defendant’s counsel advised the court that a plea agreement had
20    been reached, under the terms of which the defendant consented to a
21    sentence of 147 months in exchange for a dismissal of case no.
22    3:01-cr-00120-HDM-RAM, where the defendant was charged with a
23    violation of 18 U.S.C. §§ 3146(a)(1) and (b) - that he did
24    knowingly fail to appear at his sentencing in this case.               (#214 at
25    5:16-18).   The defendant indicated he understood the recommended
26    sentence at that time.      Id.   The defendant’s agreement and consent
27    were memorialized in a written stipulation signed by the defendant
28    on June 30, 2008.    In that agreement the defendant agreed to a

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     Case 3:00-cr-00058-HDM-RAM   Document 266   Filed 09/15/14   Page 3 of 4



 1    sentence of 147 months in this case in exchange for a dismissal of
 2    3:01-cr-00120-HDM-RAM.      (#200).
 3    Alleyne is not Applicable
 4          In Apprendi v. New Jersey, 530 U.S. 466 (2000), the Supreme
 5    Court determined any fact (other than the fact of a prior
 6    conviction) that increases the penalty for a crime beyond the
 7    prescribed statutory maximum sentence “is an ‘element’ that must be
 8    submitted to the jury and found beyond a reasonable doubt.”
 9    Alleyne at 2155.    In Alleyne, the Court extended its analysis in
10    Apprendi to facts that increase a mandatory minimum sentence.
11          Alleyne is distinguishable from the case before the court.
12    The defendant in Alleyne was convicted of using or carrying a
13    firearm during a crime of violence, in violation of 18 U.S.C. §
14    924(c).   Id. at 2155-2156.     Section 924(c) provides for a five-year
15    mandatory minimum sentence for any violation, but the minimum term
16    is increased to seven years if the firearm was brandished, and to
17    ten years if the firearm was discharged.         See 18 U.S.C. §
18    924(c)(1)(A)(i)-(iii).
19          The jury in Alleyne made no finding as to whether the firearm
20    he used was brandished, and Alleyne argued that imposition of the
21    seven-year mandatory minimum sentence based on a finding by the
22    district court of brandishing violated his Sixth Amendment right to
23    a jury trial.    Alleyne at 2156.      The Supreme Court agreed, finding
24    “[m]andatory minimum sentences increase the penalty for a crime”
25    and “any fact that increases the mandatory minimum is an ‘element’
26    that must be submitted to the jury.”        Id. At 2155.
27          Thus, in Alleyne, the district court added an element that had
28    not been considered by a jury.        Here, under the terms of the plea

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     Case 3:00-cr-00058-HDM-RAM   Document 266   Filed 09/15/14   Page 4 of 4



 1    agreement, the defendant expressly consented to the enhancement in
 2    exchange for the government dismissing the charge of failure to
 3    appear.    The defendant faced the possible consequence of
 4    imprisonment of not more than five years in case no. 3:01-cr-00120-
 5    HDM-RAM.    He freely and voluntarily requested and consented to the
 6    imposition of a sentence of 147 months in this case to avoid an
 7    additional 60 month sentence on the failure to appear charge, as
 8    evidenced by his signed plea agreement on which he was fully
 9    canvassed by the court at the hearing on April 23, 2001.             See supra
10    at 2:18-3:2. See also #227.
11          In addition, the defendant freely and voluntarily waived his
12    right to appeal.    The parties incorporated the waiver element of
13    the initial plea agreement.      (#221 at 9:22-10:14).        That provision
14    holds that the defendant “knowingly and expressly waives his right
15    to appeal any sentence to be imposed that is within the applicable
16    sentencing guideline range contemplated by the parties into this
17    agreement . . . .”    (#61 at 5).    The court imposed the sentence
18    agreed to by the parties and therefore did not impose a sentence
19    beyond the applicable sentencing guideline range.
20    Conclusion
21          Accordingly, and based on the foregoing, the defendant’s
22    motion to vacate, set aside, or correct sentence pursuant to 28
23    U.S.C. § 2255 is hereby DENIED.
24          IT IS SO ORDERED.
25          DATED: This 15th day of September, 2014.
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27                                ____________________________
                                  UNITED STATES DISTRICT JUDGE
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